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                                    Per Curiam

         SUPREME COURT OF THE UNITED STATES
          DANIEL RIVAS-VILLEGAS v. RAMON CORTESLUNA
            ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED
             STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
                      No. 20–1539. Decided October 18, 2021

             PER CURIAM.
             Petitioner Daniel Rivas-Villegas, a police officer in Union
         City, California, responded to a 911 call reporting that a
         woman and her two children were barricaded in a room for
         fear that respondent Ramon Cortesluna, the woman’s boy-
         friend, was going to hurt them. After confirming that the
         family had no way of escaping the house, Rivas-Villegas
         and the other officers present commanded Cortesluna out-
         side and onto the ground. Officers saw a knife in Cor-
         tesluna’s left pocket. While Rivas-Villegas and another of-
         ficer were in the process of removing the knife and
         handcuffing Cortesluna, Rivas-Villegas briefly placed his
         knee on the left side of Cortesluna’s back. Cortesluna later
         sued under Rev. Stat. §1979, 42 U. S. C. §1983, alleging, as
         relevant, that Rivas-Villegas used excessive force. At issue
         here is whether Rivas-Villegas is entitled to qualified im-
         munity because he did not violate clearly established law.
             The undisputed facts are as follows. A 911 operator re-
         ceived a call from a crying 12-year-old girl reporting that
         she, her mother, and her 15-year-old sister had shut them-
         selves into a room at their home because her mother’s boy-
         friend, Cortesluna, was trying to hurt them and had a
         chainsaw. The girl told the operator that Cortesluna was
         “ ‘always drinking,’ ” had “ ‘anger issues,’ ” was “ ‘really
         mad,’ ” and was using the chainsaw to “ ‘break something in
         the house.’ ” Cortesluna v. Leon, 979 F. 3d 645, 649 (CA9
         2020). A police dispatcher relayed this information along
         with a description of Cortesluna in a request for officers to
         respond.
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            Rivas-Villegas heard the broadcast and responded to the
         scene along with four other officers. The officers spent sev-
         eral minutes observing the home and reported seeing
         through a window a man matching Cortesluna’s descrip-
         tion. One officer asked whether the girl and her family
         could exit the house. Dispatch responded that they “ ‘were
         unable to get out’ ” and confirmed that the 911 operator had
         “ ‘hear[d] sawing in the background’ ” and thought that Cor-
         tesluna might be trying to saw down the door. Cortesluna
         v. Leon, 2018 WL 6727824, *2 (ND Cal., Dec. 21, 2018).
            After receiving this information, Rivas-Villegas knocked
         on the door and stated loudly, “ ‘police department, come to
         the front door, Union City police, come to the front door.’ ”
         Ibid. Another officer yelled, “ ‘he’s coming and has a
         weapon.’ ” Ibid. A different officer then stated, “ ‘use less-
         lethal,’ ” referring to a beanbag shotgun. Ibid. When Rivas-
         Villegas ordered Cortesluna to “ ‘drop it,’ ” Cortesluna
         dropped the “weapon,” later identified as a metal tool. Ibid.
            Rivas-Villegas then commanded, “ ‘come out, put your
         hands up, walk out towards me.’ ” 979 F. 3d, at 650. Cor-
         tesluna put his hands up and Rivas-Villegas told him to
         “ ‘keep coming.’ ” Ibid. As Cortesluna walked out of the
         house and toward the officers, Rivas-Villegas said, “ ‘Stop.
         Get on your knees.’ ” Ibid. Plaintiff stopped 10 to 11 feet
         from the officers. Another officer then saw a knife sticking
         out from the front left pocket of Cortesluna’s pants and
         shouted, “ ‘he has a knife in his left pocket, knife in his
         pocket,’ ” and directed Cortesluna, “ ‘don’t put your hands
         down,’ ” “ ‘hands up.’ ” 2018 WL 6727824, *2. Cortesluna
         turned his head toward the instructing officer but then low-
         ered his head and his hands in contravention of the officer’s
         orders. Another officer twice shot Cortesluna with a bean-
         bag round from his shotgun, once in the lower stomach and
         once in the left hip.
            After the second shot, Cortesluna raised his hands over
         his head. The officers shouted for him to “ ‘get down,’ ”
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         which he did. Another officer stated, “ ‘left pocket, he’s got
         a knife.’ ” Ibid. Rivas-Villegas then straddled Cortesluna.
         He placed his right foot on the ground next to Cortesluna’s
         right side with his right leg bent at the knee. He placed his
         left knee on the left side of Cortesluna’s back, near where
         Cortesluna had a knife in his pocket. He raised both of Cor-
         tesluna’s arms up behind his back. Rivas-Villegas was in
         this position for no more than eight seconds before standing
         up while continuing to hold Cortesluna’s arms. At that
         point, another officer, who had just removed the knife from
         Cortesluna’s pocket and tossed it away, came and hand-
         cuffed Cortesluna’s hands behind his back. Rivas-Villegas
         lifted Cortesluna up and moved him away from the door.
            Cortesluna brought suit under 42 U. S. C. §1983, claim-
         ing, as relevant here, that Rivas-Villegas used excessive
         force in violation of the Fourth Amendment. The District
         Court granted summary judgment to Rivas-Villegas, but
         the Court of Appeals for the Ninth Circuit reversed. 979
         F. 3d, at 656.
            The Court of Appeals held that “Rivas-Villegas is not en-
         titled to qualified immunity because existing precedent put
         him on notice that his conduct constituted excessive force.”
         Id., at 654. In reaching this conclusion, the Court of Ap-
         peals relied solely on LaLonde v. County of Riverside, 204
         F. 3d 947 (CA9 2000). The court acknowledged that “the
         officers here responded to a more volatile situation than did
         the officers in LaLonde.” 979 F. 3d, at 654. Nevertheless,
         it reasoned: “Both LaLonde and this case involve suspects
         who were lying face-down on the ground and were not re-
         sisting either physically or verbally, on whose back the de-
         fendant officer leaned with a knee, causing allegedly signif-
         icant injury.” Ibid.
            Judge Collins dissented. As relevant, he argued that “the
         facts of LaLonde are materially distinguishable from this
         case and are therefore insufficient to have made clear to
         every reasonable officer that the force Rivas-Villegas used
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         here was excessive.” Id., at 664 (internal quotation marks
         omitted).
            We agree and therefore reverse. Even assuming that con-
         trolling Circuit precedent clearly establishes law for pur-
         poses of §1983, LaLonde did not give fair notice to Rivas-
         Villegas. He is thus entitled to qualified immunity.
            “Qualified immunity attaches when an official’s conduct
         does not violate clearly established statutory or constitu-
         tional rights of which a reasonable person would have
         known.” White v. Pauly, 580 U. S. ___, ___ (2017) (per cu-
         riam) (slip op., at 6) (internal quotation marks omitted). A
         right is clearly established when it is “sufficiently clear that
         every reasonable official would have understood that what
         he is doing violates that right.” Mullenix v. Luna, 577 U. S.
         7, 11 (2015) (per curiam) (internal quotation marks omit-
         ted). Although “this Court’s case law does not require a case
         directly on point for a right to be clearly established, exist-
         ing precedent must have placed the statutory or constitu-
         tional question beyond debate.” White, 580 U. S., at ___
         (slip op., at 6) (alterations and internal quotation marks
         omitted). This inquiry “must be undertaken in light of the
         specific context of the case, not as a broad general proposi-
         tion.” Brosseau v. Haugen, 543 U. S. 194, 198 (2004) (per
         curiam) (internal quotation marks omitted).
            “[S]pecificity is especially important in the Fourth
         Amendment context, where . . . it is sometimes difficult for
         an officer to determine how the relevant legal doctrine, here
         excessive force, will apply to the factual situation the officer
         confronts.” Mullenix, 577 U. S., at 12 (alterations and in-
         ternal quotation marks omitted). Whether an officer has
         used excessive force depends on “the facts and circum-
         stances of each particular case, including the severity of the
         crime at issue, whether the suspect poses an immediate
         threat to the safety of the officers or others, and whether he
         is actively resisting arrest or attempting to evade arrest by
         flight.” Graham v. Connor, 490 U. S. 386, 396 (1989); see
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         also Tennessee v. Garner, 471 U. S. 1, 11 (1985) (“Where the
         officer has probable cause to believe that the suspect poses
         a threat of serious physical harm, either to the officer or to
         others, it is not constitutionally unreasonable to prevent es-
         cape by using deadly force”). However, Graham’s and Gar-
         ner’s standards are cast “at a high level of generality.”
         Brosseau, 543 U. S., at 199. “[I]n an obvious case, these
         standards can ‘clearly establish’ the answer, even without
         a body of relevant case law.” Ibid. But this is not an obvi-
         ous case. Thus, to show a violation of clearly established
         law, Cortesluna must identify a case that put Rivas-Ville-
         gas on notice that his specific conduct was unlawful.
            Cortesluna has not done so. Neither Cortesluna nor the
         Court of Appeals identified any Supreme Court case that
         addresses facts like the ones at issue here. Instead, the
         Court of Appeals relied solely on its precedent in LaLonde.
         Even assuming that Circuit precedent can clearly establish
         law for purposes of §1983, LaLonde is materially distin-
         guishable and thus does not govern the facts of this case.
            In LaLonde, officers were responding to a neighbor’s com-
         plaint that LaLonde had been making too much noise in his
         apartment. 204 F. 3d, at 950–951. When they knocked on
         LaLonde’s door, he “appeared in his underwear and a T-
         shirt, holding a sandwich in his hand.” Id., at 951.
         LaLonde testified that, after he refused to let the officers
         enter his home, they did so anyway and informed him he
         would be arrested for obstruction of justice. Ibid. One of-
         ficer then knocked the sandwich from LaLonde’s hand and
         “grabbed LaLonde by his ponytail and knocked him back-
         wards to the ground.” Id., at 952. After a short scuffle, the
         officer sprayed LaLonde in the face with pepper spray. At
         that point, LaLonde ceased resisting and another officer,
         while handcuffing LaLonde, “deliberately dug his knee into
         LaLonde’s back with a force that caused him long-term if
         not permanent back injury.” Id., at 952, 960, n. 17.
            The situation in LaLonde and the situation at issue here
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         diverge in several respects. In LaLonde, officers were re-
         sponding to a mere noise complaint, whereas here they
         were responding to a serious alleged incident of domestic
         violence possibly involving a chainsaw. In addition,
         LaLonde was unarmed. Cortesluna, in contrast, had a
         knife protruding from his left pocket for which he had just
         previously appeared to reach. Further, in this case, video
         evidence shows, and Cortesluna does not dispute, that Ri-
         vas-Villegas placed his knee on Cortesluna for no more than
         eight seconds and only on the side of his back near the knife
         that officers were in the process of retrieving. LaLonde, in
         contrast, testified that the officer deliberately dug his knee
         into his back when he had no weapon and had made no
         threat when approached by police. These facts, considered
         together in the context of this particular arrest, materially
         distinguish this case from LaLonde.
           “Precedent involving similar facts can help move a case
         beyond the otherwise hazy borders between excessive and
         acceptable force and thereby provide an officer notice that
         a specific use of force is unlawful.” Kisela v. Hughes, 584
         U. S. ___, ___ (2018) (per curiam) (slip op., at 5) (internal
         quotation marks omitted). On the facts of this case, neither
         LaLonde nor any decision of this Court is sufficiently simi-
         lar. For that reason, we grant Rivas-Villegas’ petition for
         certiorari and reverse the Ninth Circuit’s determination
         that Rivas-Villegas is not entitled to qualified immunity.

                                                      It is so ordered.
